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                                                                    APPEAL,CLOSED,JURY,TYPE−C
                                  U.S. District Court
                       District of Columbia (Washington, DC)
                 CIVIL DOCKET FOR CASE #: 1:16−cv−02201−EGS
                                   Internal Use Only

LIEU et al v. FEDERAL ELECTION COMMISSION                     Date Filed: 11/04/2016
Assigned to: Judge Emmet G. Sullivan                          Date Terminated: 02/28/2019
Cause: 02:431 Fed. Election Commission: Failure Enforce C     Jury Demand: Plaintiff
                                                              Nature of Suit: 890 Other Statutory
                                                              Actions
                                                              Jurisdiction: U.S. Government Defendant
Plaintiff
TED LIEU                                       represented by Laurence H. Tribe
Representative                                                HARVARD UNIVERSITY
                                                              1575 Massachusetts Avenue
                                                              Hauser Hall 420
                                                              Cambridge, MA 02138
                                                              (617) 495−4621
                                                              PRO HAC VICE

                                                              Ronald A. Fein
                                                              FREE SPEECH FOR PEOPLE
                                                              1340 Centre St. #209
                                                              Newton, MA 02459
                                                              (617)244−0234
                                                              Email: rfein@freespeechforpeople.org

                                                              Stephen Adam Weisbrod
                                                              WEISBROD MATTEIS & COPLEY
                                                              PLLC
                                                              1200 New Hampshire Avenue, N.W.
                                                              Suite 600
                                                              Washington, DC 20036
                                                              (202) 499−7900
                                                              Fax: 202−478−1795
                                                              Email: sweisbrod@wmclaw.com
                                                              ATTORNEY TO BE NOTICED

Plaintiff
WALTER JONES                                   represented by Laurence H. Tribe
Representative                                                (See above for address)
                                                              PRO HAC VICE

                                                              Ronald A. Fein
                                                              (See above for address)

                                                              Stephen Adam Weisbrod
                                                              (See above for address)
                                                                                                        1
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                                                    ATTORNEY TO BE NOTICED

Plaintiff
JEFF MERKLEY                         represented by Laurence H. Tribe
Senator                                             (See above for address)
                                                    PRO HAC VICE

                                                    Ronald A. Fein
                                                    (See above for address)

                                                    Stephen Adam Weisbrod
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Plaintiff
JOHN HOWE                            represented by Laurence H. Tribe
State Senator (Ret.)                                (See above for address)
                                                    PRO HAC VICE

                                                    Ronald A. Fein
                                                    (See above for address)

                                                    Stephen Adam Weisbrod
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Plaintiff
ZEPHYR TEACHOUT                      represented by Laurence H. Tribe
                                                    (See above for address)
                                                    PRO HAC VICE

                                                    Ronald A. Fein
                                                    (See above for address)

                                                    Stephen Adam Weisbrod
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Plaintiff
MICHAEL WAGER                        represented by Laurence H. Tribe
                                                    (See above for address)
                                                    PRO HAC VICE

                                                    Ronald A. Fein
                                                    (See above for address)

                                                    Stephen Adam Weisbrod
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED


                                                                              2
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V.
Defendant
FEDERAL ELECTION                           represented by Harry Jacobs Summers
COMMISSION                                                FEDERAL ELECTION COMMISSION
                                                          1050 First Street, NE
                                                          Washington, DC 20463
                                                          (202) 694−1650
                                                          Fax: (202) 219−0260
                                                          Email: hsummers@fec.gov
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Kevin Deeley
                                                          FEDERAL ELECTION COMMISSION
                                                          1050 First Street, NE
                                                          Washington, DC 20463
                                                          (202) 694−1650
                                                          Fax: (202) 219−3923
                                                          Email: kdeeley@fec.gov
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Jacob Stephen Siler
                                                          FEDERAL ELECTION COMMISSION
                                                          1050 First Street, NE
                                                          Washington, DC 20463
                                                          202−694−1623
                                                          Fax: (202) 219−0260
                                                          Email: jsiler@fec.gov
                                                          ATTORNEY TO BE NOTICED

                                                          Sana Chaudhry
                                                          FEDERAL ELECTION COMMISSION
                                                          1050 First Street, NE
                                                          Washington, DC 20463
                                                          (202) 694−1574
                                                          Email: schaudhry@fec.gov
                                                          TERMINATED: 11/29/2018


Date Filed   #   Page Docket Text
11/04/2016   1        COMPLAINT against FEDERAL ELECTION COMMISSION ( Filing fee $
                      400 receipt number 0090−4732811) filed by MICHAEL WAGER, TED LIEU,
                      JOHN HOWE, JEFF MERKLEY, WALTER JONES, ZEPHYR TEACHOUT.
                      (Attachments: # 1 Civil Cover Sheet, # 2 Summons U.S. Attorney General, # 3
                      Summons U.S. Attorney's Office, # 4 Summons Federal Election
                      Commission)(Weisbrod, Stephen) (Entered: 11/04/2016)
11/04/2016   2        MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Ronald A. Fein,
                      :Firm− Free Speech For People, :Address− 1340 Centre St. #209, Newton, MA
                                                                                                    3
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                   02459. Phone No. − 617−244−0234. Filing fee $ 100, receipt number
                   0090−4734299. Fee Status: Fee Paid. by JOHN HOWE, WALTER JONES,
                   TED LIEU, JEFF MERKLEY, ZEPHYR TEACHOUT, MICHAEL WAGER
                   (Attachments: # 1 Declaration, # 2 Text of Proposed Order)(Weisbrod, Stephen)
                   (Entered: 11/04/2016)
11/04/2016   3     MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Laurence H.
                   Tribe, :Firm− Harvard Law School (noted for identification purposes only),
                   :Address− Hauser Hall 420, Harvard University, Cambridge, MA 02138. Phone
                   No. − 617−495−1767. Filing fee $ 100, receipt number 0090−4734305. Fee
                   Status: Fee Paid. by JOHN HOWE, WALTER JONES, TED LIEU, JEFF
                   MERKLEY, ZEPHYR TEACHOUT, MICHAEL WAGER (Attachments: # 1
                   Declaration, # 2 Text of Proposed Order)(Weisbrod, Stephen) (Entered:
                   11/04/2016)
11/04/2016   4     MOTION To List Non−Residential Addresses In Complaint Caption by
                   WALTER JONES, TED LIEU, ZEPHYR TEACHOUT (Attachments: # 1
                   Declaration, # 2 Text of Proposed Order)(Weisbrod, Stephen) (Entered:
                   11/04/2016)
11/07/2016         Case Assigned to Judge Emmet G. Sullivan. (sb) (Entered: 11/07/2016)
11/07/2016   5     SUMMONS (3) Issued Electronically as to FEDERAL ELECTION
                   COMMISSION, U.S. Attorney and U.S. Attorney General (Attachment: # 1
                   Consent Form)(sb) (Entered: 11/07/2016)
11/16/2016         MINUTE ORDER granting 2 , 3 motions for leave to appear pro hac vice.
                   Ronald A. Fein and Laurence H. Tribe are hereby admitted pro hac vice in this
                   action. Signed by Judge Emmet G. Sullivan on 11/16/2016. (lcegs4) (Entered:
                   11/16/2016)
12/07/2016         MINUTE ORDER treating as opposed and granting 4 plaintiffs' motion to list
                   non−residential address in complaint caption. The Court finds that the plaintiffs'
                   privacy interests outweigh any countervailing public interest in having their
                   residential addresses disclosed. Further, granting this motion will not prejudice
                   the Federal Election Commission. Recognizing that the purpose of Local Civil
                   Rules 5.1(e)(1) and 11.1 is to facilitate service of process and effective
                   communication between the parties, the Court concludes that this purpose would
                   be furthered by permitting plaintiffs to list the non−residential addresses
                   provided in the complaint caption in this matter. Yaman v. United States Dept of
                   State, 786 F. Supp. 2d 148, 153 n.2 (D.D.C. 2011). Signed by Judge Emmet G.
                   Sullivan on 12/7/2016. (lcegs4) (Entered: 12/07/2016)
12/14/2016   6     RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                   FEDERAL ELECTION COMMISSION served on 11/14/2016 (Weisbrod,
                   Stephen) (Entered: 12/14/2016)
12/14/2016   7     RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed on
                   United States Attorney General. Date of Service Upon United States Attorney
                   General 11/14/2016. (Weisbrod, Stephen) (Entered: 12/14/2016)
12/14/2016   8     RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as
                   to the United States Attorney. Date of Service Upon United States Attorney on
                   11/14/2016. Answer due for ALL FEDERAL DEFENDANTS by 1/13/2017.
                   (Weisbrod, Stephen) (Entered: 12/14/2016)

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01/11/2017    9    NOTICE of Appearance by Sana Chaudhry on behalf of FEDERAL ELECTION
                   COMMISSION (Chaudhry, Sana) (Entered: 01/11/2017)
01/11/2017   10    NOTICE of Appearance by Kevin Deeley on behalf of FEDERAL ELECTION
                   COMMISSION (Deeley, Kevin) (Entered: 01/11/2017)
01/11/2017   11    NOTICE of Appearance by Harry Jacobs Summers on behalf of FEDERAL
                   ELECTION COMMISSION (Summers, Harry) (Entered: 01/11/2017)
01/13/2017   12    ANSWER to Complaint by FEDERAL ELECTION COMMISSION.(Chaudhry,
                   Sana) (Entered: 01/13/2017)
01/23/2017   13    ORDER FOR MEET AND CONFER REPORT. Attorney Meet and Confer
                   Conference by 2/14/2017. Meet & Confer Statement due by 2/28/2017. Signed
                   by Judge Emmet G. Sullivan on 01/23/17. (mac) (Entered: 01/23/2017)
02/28/2017   14    MEET AND CONFER STATEMENT. (Attachments: # 1 Text of Proposed
                   Order by plaintiffs, # 2 Text of Proposed Order by defendant FEC)(Chaudhry,
                   Sana) (Entered: 02/28/2017)
03/14/2017   15    Unopposed MOTION for Protective Order by FEDERAL ELECTION
                   COMMISSION (Attachments: # 1 Text of Proposed Protective
                   Order)(Chaudhry, Sana) (Entered: 03/14/2017)
03/22/2017         MINUTE ORDER granting 15 unopposed motion for a protective order. The
                   terms presented in the proposed Protective Order are hereby incorporated by
                   reference into this Courts Order. Signed by Judge Emmet G. Sullivan on
                   3/22/2017. (lcegs4) (Entered: 03/22/2017)
03/22/2017   16    SCHEDULING ORDER. Signed by Judge Emmet G. Sullivan on 3/22/2017.
                   (lcegs4) (Entered: 03/22/2017)
03/23/2017         Set/Reset Deadlines/Hearings: Fact Discovery due by 7/13/2017. Commission
                   To File A Sworn Declaration With A Detailed Chronology Containing Factual
                   Information About Its Actions In The Underlying Administrative Proceeding
                   due by 4/22/2017. Proposed Discovery Plan due by 6/22/2017. Joint Status
                   Report due by 6/22/2017. Status Conference set for 7/27/2017 at 11:00 AM in
                   Courtroom 24A before Judge Emmet G. Sullivan. Status Report, Including A
                   Joint Recommendation For Further Proceedings due by 7/20/2017. Plaintiffs
                   Motion For Summary Judgment due by 8/28/2017. Defendant Combined
                   Cross−Motion For Summary Judgment And Opposition To Plaintiffs' Motion
                   due by 9/28/2017. Plaintiffs Combined Reply In Support Of Their Motion And
                   Opposition To The FEC's Cross−Motion due by 10/30/2017. Defendant Reply
                   In Support Of Its Cross−Motion due by 11/20/2017. (mac) (Entered:
                   03/23/2017)
04/21/2017   17    SEALED DOCUMENT (Declaration of Sana Chaudhry) filed by FEDERAL
                   ELECTION COMMISSION(This document is SEALED and only available to
                   authorized persons.)(Chaudhry, Sana) Modified on 4/21/2017 (ztd). (Entered:
                   04/21/2017)
04/21/2017   18    AFFIDAVIT Declaration of Sana Chaudhry (REDACTED) by FEDERAL
                   ELECTION COMMISSION. (Chaudhry, Sana) (Entered: 04/21/2017)
06/13/2017   19    STIPULATION Joint Stipulation And Proposed Order To Permit Plaintiffs To
                   File Motion To Amend Or Supplement Complaint By June 22, 2017 by JOHN

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                   HOWE, WALTER JONES, TED LIEU, JEFF MERKLEY, ZEPHYR
                   TEACHOUT, MICHAEL WAGER. (Weisbrod, Stephen) (Entered: 06/13/2017)
06/13/2017   20    Unopposed MOTION to Stay Discovery and Certain Case Deadlines by
                   FEDERAL ELECTION COMMISSION (Attachments: # 1 Text of Proposed
                   Order)(Chaudhry, Sana) (Entered: 06/13/2017)
06/14/2017         MINUTE ORDER granting 20 defendant's unopposed motion to stay discovery
                   and pending case deadlines, other than plaintiffs' deadline to file a motion to
                   amend or supplement the complaint, pending further order of the Court. Signed
                   by Judge Emmet G. Sullivan on June 14, 2017. (lcegs2) (Entered: 06/14/2017)
06/22/2017   21    MOTION to Amend/Correct 1 Complaint, by JOHN HOWE, WALTER
                   JONES, TED LIEU, JEFF MERKLEY, ZEPHYR TEACHOUT, MICHAEL
                   WAGER (Attachments: # 1 Memorandum in Support, # 2 Exhibit A −− First
                   Amended Complaint, # 3 Exhibit B −− FEC Interrogatories, # 4 Text of
                   Proposed Order)(Weisbrod, Stephen) (Entered: 06/22/2017)
07/03/2017   22    Consent MOTION for Briefing Schedule by JOHN HOWE, WALTER JONES,
                   TED LIEU, JEFF MERKLEY, ZEPHYR TEACHOUT, MICHAEL WAGER
                   (Attachments: # 1 Text of Proposed Order)(Weisbrod, Stephen) (Entered:
                   07/03/2017)
07/10/2017         MINUTE ORDER granting 22 plaintiffs' consent motion to enter a briefing
                   schedule. The parties are directed to comply with the following briefing
                   schedule: defendant's motion to dismiss and opposition to plaintiffs' motion to
                   amend shall be filed no later than July 17, 2017; plaintiffs' opposition to
                   defendant's motion to dismiss and reply in support of its motion to amend shall
                   be filed by no later than August 11, 2017; and defendant's reply in support of its
                   motion to dismiss shall be filed by no later than August 25, 2017. Signed by
                   Judge Emmet G. Sullivan on July 10, 2017. (lcegs2) (Entered: 07/10/2017)
07/11/2017         Set/Reset Deadlines: Defendant's Motion To Dismiss And Opposition To
                   Plaintiffs' Motion To Amend due by 7/17/2017. Plaintiffs' Opposition To
                   Defendant's Motion To Dismiss And Reply In Support Of Its Motion To Amend
                   due by 8/11/2017. Defendant's Reply In Support Of Its Motion To Dismiss due
                   by 8/25/2017. (mac) (Entered: 07/11/2017)
07/17/2017   23    NOTICE of Appearance by Jacob Stephen Siler on behalf of FEDERAL
                   ELECTION COMMISSION (Siler, Jacob) (Entered: 07/17/2017)
07/17/2017   24    MOTION to Dismiss for Lack of Jurisdiction by FEDERAL ELECTION
                   COMMISSION (Attachments: # 1 Text of Proposed Order)(Chaudhry, Sana)
                   (Entered: 07/17/2017)
07/17/2017   25    Memorandum in opposition to re 21 MOTION to Amend/Correct 1 Complaint,
                   filed by FEDERAL ELECTION COMMISSION. (Attachments: # 1 Exhibit A −
                   Plaintiffs' Interrogatories to the FEC, # 2 Text of Proposed Order)(Chaudhry,
                   Sana) (Entered: 07/17/2017)
07/28/2017   26    STANDING ORDER: The parties are directed to read the attached Standing
                   Order Governing Civil Cases Before Judge Emmet G. Sullivan in its entirety
                   upon receipt. The parties are hereby ORDERED to comply with the directives in
                   the attached Standing Order. Signed by Judge Emmet G. Sullivan on 7/28/2017.
                   (Attachments: # 1 Exhibit) (lcegs1) (Entered: 07/28/2017)

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08/08/2017   27    Consent MOTION for Extension of Time to File Response/Reply as to 21
                   MOTION to Amend/Correct 1 Complaint, , 24 MOTION to Dismiss for Lack of
                   Jurisdiction by JOHN HOWE, WALTER JONES, TED LIEU, JEFF
                   MERKLEY, ZEPHYR TEACHOUT, MICHAEL WAGER (Attachments: # 1
                   Text of Proposed Order)(Weisbrod, Stephen) (Entered: 08/08/2017)
08/10/2017         MINUTE ORDER granting 27 plaintiffs' consent motion for extension of time.
                   Plaintiffs' opposition to defendant's motion to dismiss and reply in support of its
                   motion to amend shall be filed by no later than August 16, 2017. Defendant's
                   reply in support of its motion to dismiss shall be filed by no later than
                   September 5, 2017. Signed by Judge Emmet G. Sullivan on August 10, 2017.
                   (lcegs2) (Entered: 08/10/2017)
08/10/2017         Set/Reset Deadlines/Hearings: Plaintiff's response to 24 and reply to 21 due by
                   8/16/2017. Defendant's reply to 24 due by 9/5/2017. (cdw) (Entered:
                   08/11/2017)
08/16/2017   28    REPLY to opposition to motion re 21 MOTION to Amend/Correct 1 Complaint,
                   filed by JOHN HOWE, WALTER JONES, TED LIEU, JEFF MERKLEY,
                   ZEPHYR TEACHOUT, MICHAEL WAGER. (Weisbrod, Stephen) (Entered:
                   08/16/2017)
08/16/2017   29    Memorandum in opposition to re 24 MOTION to Dismiss for Lack of
                   Jurisdiction filed by JOHN HOWE, WALTER JONES, TED LIEU, JEFF
                   MERKLEY, ZEPHYR TEACHOUT, MICHAEL WAGER. (Attachments: # 1
                   Text of Proposed Order)(Weisbrod, Stephen) (Entered: 08/16/2017)
09/05/2017   30    REPLY to opposition to motion re 24 MOTION to Dismiss for Lack of
                   Jurisdiction filed by FEDERAL ELECTION COMMISSION. (Siler, Jacob)
                   (Entered: 09/05/2017)
10/12/2017   31    NOTICE OF SUPPLEMENTAL AUTHORITY by JOHN HOWE, WALTER
                   JONES, TED LIEU, JEFF MERKLEY, ZEPHYR TEACHOUT, MICHAEL
                   WAGER (Attachments: # 1 Exhibit A)(Weisbrod, Stephen) (Entered:
                   10/12/2017)
10/26/2017   32    RESPONSE re 31 NOTICE OF SUPPLEMENTAL AUTHORITY filed by
                   FEDERAL ELECTION COMMISSION. (Siler, Jacob) (Entered: 10/26/2017)
11/21/2017   33    NOTICE OF SUPPLEMENTAL AUTHORITY by FEDERAL ELECTION
                   COMMISSION (Siler, Jacob) (Entered: 11/21/2017)
12/05/2017   34    RESPONSE re 33 NOTICE OF SUPPLEMENTAL AUTHORITY filed by
                   JOHN HOWE, WALTER JONES, TED LIEU, JEFF MERKLEY, ZEPHYR
                   TEACHOUT, MICHAEL WAGER. (Weisbrod, Stephen) (Entered: 12/05/2017)
02/16/2018         MINUTE ORDER directing plaintiffs to file a redlined comparison of their
                   original complaint and the proposed amended pleading, as filed in 21 their
                   motion to amend the complaint, by February 20, 2018. Signed by Judge Emmet
                   G. Sullivan on 2/16/2018. (lcegs3) (Entered: 02/16/2018)
02/16/2018   35    RESPONSE TO ORDER OF THE COURT re Order, February 16, 2018 Minute
                   Order, Redlined Proposed First Amended Complaint filed by JOHN HOWE,
                   WALTER JONES, TED LIEU, JEFF MERKLEY, ZEPHYR TEACHOUT,
                   MICHAEL WAGER. (Attachments: # 1 Exhibit A −− Proposed First Amended
                   Complaint Redline)(Weisbrod, Stephen) (Entered: 02/16/2018)
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02/20/2018         Set/Reset Deadlines: Redlined Comparison Of Their Original Complaint And
                   The Proposed Amended Pleading due by 2/20/2018. (mac) (Entered:
                   02/20/2018)
03/07/2018         MINUTE ORDER granting 21 plaintiffs' motion for leave to file amended
                   complaint and denying 24 defendant's motion to dismiss for lack of jurisdiction
                   as moot. Motions to amend or supplement pleadings should be "freely granted
                   when doing so will promote the economic and speedy disposition of the entire
                   controversy between the parties, will not cause undue delay or trial
                   inconvenience, and will not prejudice the rights of any of the other parties to the
                   action." Hall v. CIA, 437 F.3d 94, 101 (D.C. Cir. 2006); Fed. R. Civ. P. 15(a),
                   (d). Granting plaintiffs' motion substantially advances judicial economy and
                   avoids needlessly delaying proceedings. Plaintiffs' proposed amended complaint
                   is directly related to the facts originally pleaded: plaintiffs' 1 original complaint
                   alleged that the FEC failed to timely act on plaintiffs' administrative complaint
                   in violation of certain statutes, while plaintiffs' [21−2] amended complaint
                   alleges that the FEC wrongfully dismissed the same administrative complaint in
                   violation of the same statutes. See Dooley v. United Techs. Corp., 152 F.R.D.
                   419, 425 (D.D.C. 1993). The FEC is not prejudiced because it has the same
                   opportunity to present its defense as it did previously. See id. Defendant's only
                   argument to the contrary−−that it is prejudiced because it has less time to
                   respond to an amended complaint−−is a nonstarter because plaintiffs have
                   consented to an appropriate extension of time. Def.'s Opp'n, ECF No. 25 at 5;
                   Pls.' Reply, ECF No. 28 at 2. Moreover, the Court disagrees that plaintiffs'
                   proposed amended complaint is futile. Def.'s Opp'n, ECF No. 25 at 12−22.
                   Defendant's attempt to litigate on the merits at this stage is premature. Finally,
                   the Court has jurisdiction to grant plaintiffs' motion because the amended
                   complaint attempts to resolve any jurisdictional problems with the original
                   complaint. See Baltimore v. Pruitt, No. 16−cv−452, 2017 WL 5198174, at *5
                   (D.D.C. Nov. 9, 2017) (rejecting agency's argument that the court "should deny
                   [plaintiffs'] Rule 15(a) motion because, having held that the claims are moot, the
                   Court now lacks jurisdiction," because plaintiffs' proposed amended pleading
                   would cure the jurisdictional defect; therefore, "the Court has jurisdiction to
                   consider the plaintiffs' motion for leave to amend"); see also Schmidt v. United
                   States, 749 F.3d 1064, 1068 (D.C. Cir. 2014) (suggesting that a plaintiff may
                   move to amend his complaint when his original complaint is moot). Signed by
                   Judge Emmet G. Sullivan on 3/7/2018. (lcegs3) (Entered: 03/07/2018)
03/07/2018   36    AMENDED COMPLAINT against FEDERAL ELECTION COMMISSION
                   with Jury Demand filed by MICHAEL WAGER, TED LIEU, JOHN HOWE,
                   JEFF MERKLEY, WALTER JONES, ZEPHYR TEACHOUT.(jf) (Entered:
                   03/08/2018)
03/20/2018   37    MOTION for Scheduling Order by FEDERAL ELECTION COMMISSION
                   (Attachments: # 1 Text of Proposed Order)(Siler, Jacob) (Entered: 03/20/2018)
03/26/2018         MINUTE ORDER granting 37 defendant's unopposed motion for a scheduling
                   order. Defendant is directed to answer or otherwise respond to plaintiffs'
                   amended complaint by no later than May 7, 2018. The stay entered by the Court
                   on June 14, 2018 is hereby lifted. Signed by Judge Emmet G. Sullivan on March
                   26, 2018. (lcegs2) (Entered: 03/26/2018)
04/02/2018   38    NOTICE of Change of Address by Jacob Stephen Siler (Siler, Jacob) (Entered:

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                      04/02/2018)
05/07/2018   39       MOTION to Dismiss Plaintiffs' First Amended Complaint by FEDERAL
                      ELECTION COMMISSION (Attachments: # 1 Text of Proposed Order)(Siler,
                      Jacob) (Entered: 05/07/2018)
05/07/2018   40       NOTICE of Filing of Certified List of Administrative Record by FEDERAL
                      ELECTION COMMISSION (Attachments: # 1 Certified List of Contents of
                      Administrative Record)(Siler, Jacob) (Entered: 05/07/2018)
05/08/2018   41       Consent MOTION for Briefing Schedule by JOHN HOWE, WALTER JONES,
                      TED LIEU, JEFF MERKLEY, ZEPHYR TEACHOUT, MICHAEL WAGER
                      (Attachments: # 1 Text of Proposed Order)(Weisbrod, Stephen) (Entered:
                      05/08/2018)
05/08/2018            MINUTE ORDER granting 41 plaintiffs' consent motion for a briefing schedule.
                      Plaintiffs are directed to file their opposition to defendant's motion to dismiss by
                      no later than June 13, 2018. Defendant is directed to file its reply in support of
                      its motion to dismiss by no later than July 2, 2018. Signed by Judge Emmet G.
                      Sullivan on May 8, 2018. (lcegs2) (Entered: 05/08/2018)
05/09/2018            Set/Reset Deadlines: Plaintiffs Opposition To Defendant's Motion To Dismiss
                      due by 6/13/2018. Defendant Reply In Support OF Its Motion To Dismiss due
                      by 7/2/2018. (mac) (Entered: 05/09/2018)
06/13/2018   42       Memorandum in opposition to re 39 MOTION to Dismiss Plaintiffs' First
                      Amended Complaint filed by JOHN HOWE, WALTER JONES, TED LIEU,
                      JEFF MERKLEY, ZEPHYR TEACHOUT, MICHAEL WAGER. (Attachments:
                      # 1 Text of Proposed Order, # 2 Exhibit)(Weisbrod, Stephen) (Entered:
                      06/13/2018)
07/02/2018   43       REPLY to opposition to motion re 39 MOTION to Dismiss Plaintiffs' First
                      Amended Complaint filed by FEDERAL ELECTION COMMISSION. (Siler,
                      Jacob) (Entered: 07/02/2018)
07/16/2018   44       NOTICE by FEDERAL ELECTION COMMISSION re 17 Sealed Document
                      (Siler, Jacob) (Entered: 07/16/2018)
07/16/2018   45       JOINT APPENDIX by JOHN HOWE, WALTER JONES, TED LIEU, JEFF
                      MERKLEY, ZEPHYR TEACHOUT, MICHAEL WAGER. (Weisbrod,
                      Stephen) (Entered: 07/16/2018)
11/29/2018   46       NOTICE OF WITHDRAWAL OF APPEARANCE as to FEDERAL
                      ELECTION COMMISSION. Attorney Sana Chaudhry terminated. (Chaudhry,
                      Sana) (Entered: 11/29/2018)
02/28/2019   47   12 ORDER granting 39 motion to dismiss. Signed by Judge Emmet G. Sullivan on
                     2/28/2019. (lcegs2) (Entered: 02/28/2019)
02/28/2019   48   13 MEMORANDUM OPINION. Signed by Judge Emmet G. Sullivan on
                     2/28/2019. (lcegs2) (Entered: 02/28/2019)
03/18/2019   49   11 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 47 Order on Motion to
                     Dismiss by JOHN HOWE, TED LIEU, JEFF MERKLEY, ZEPHYR
                     TEACHOUT, MICHAEL WAGER. Filing fee $ 505, receipt number
                     0090−6005465. Fee Status: Fee Paid. Parties have been notified. (Weisbrod,

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               Stephen) (Entered: 03/18/2019)




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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

 REPRESENTATIVE TED LIEU, et al.,

             Plaintiffs,                   Civ. No. 16-2201 (EGS)

             v.

FEDERAL ELECTION COMMISSION,

             Defendant.


                                 ORDER

     Upon consideration of defendant’s motion to dismiss

plaintiffs’ first amended complaint, and for the reasons stated

in the Memorandum Opinion, defendant’s motion to dismiss is

GRANTED. Plaintiffs’ first amended complaint is hereby

DISMISSED.

     SO ORDERED.

Signed:      Emmet G. Sullivan
             United States District Judge
             February 28, 2019




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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

 REPRESENTATIVE TED LIEU, et al.,

           Plaintiffs,                     Civ. No. 16-2201 (EGS)

           v.

FEDERAL ELECTION COMMISSION,

           Defendant.


                          MEMORANDUM OPINION

     This case involves the constitutionality of the Federal

Election Campaign Act’s (“FECA”) limits on contributions to

political action committees that make only independent

expenditures. The Court of Appeals for the District of Columbia

Circuit (“D.C. Circuit”) has held that contributions to such

independent expenditure-only political action committees “cannot

corrupt or create the appearance of corruption” and therefore

limits on contributions to these groups are unconstitutional.

SpeechNow.org v. FEC, 599 F.3d 686, 694 (D.C. Cir. 2010)(en

banc). The upshot of this holding is that certain political

action committees, commonly known as “Super PACs” can “receive

unlimited amounts of money from both individuals and

corporations” and “engage in unlimited electioneering

communications, so long as their activities are not made ‘in

cooperation, consultation, or concert, with, or at the request

or suggestion of’ a candidate, his or her authorized political



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committee, or a national, State, or local committee of a

political party.” Stop This Insanity, Inc. Employee Leadership

Fund v. FEC, 902 F. Supp. 2d 23, 37 (D.D.C. 2012)(citation

omitted). It is undisputed that this is the law of the Circuit.

     Notwithstanding the D.C. Circuit’s ruling in SpeechNow,

Plaintiffs Representative Ted Lieu; Representative Walter Jones;

Senator Jeff Merkley, State Senator (ret.); John Howe; Zephyr

Teachout; and Michael Wager (collectively, “Plaintiffs”) brought

an administrative complaint against several Super PACs alleging

violations of FECA when the Super PACs knowingly accepted

contributions in excess of monetary limits set by FECA. The

Federal Election Commission (“FEC” or “Commission”) disagreed

explaining that under SpeechNow the Super PACs actions were

lawful. Accordingly, the FEC dismissed the administrative

complaint.

     Plaintiffs bring this action alleging the FEC acted

“contrary to law” when it dismissed the administrative complaint

against the Super PACs because the FEC relied on SpeechNow--an

allegedly unlawful judicial ruling. Pending before the Court is

FEC’s motion to dismiss plaintiffs’ complaint for failure to

state a claim. Plaintiffs have the daunting task of persuading

this Court to rule inconsistently with the D.C. Circuit’s en

banc opinion in SpeechNow. This Court cannot do so, therefore

defendant’s motion to dismiss is GRANTED.

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I. Background

     Because the claims in this case involve several provisions

of FECA, and the D.C. Circuit’s interpretation of those

provisions, the Court begins with an explanation of the statute

and relevant case law.

     A. FECA and SpeechNow

     FECA was enacted to “limit spending in federal election

campaigns and to eliminate the actual or perceived pernicious

influence over candidates for elective office that wealthy

individuals or corporations could achieve by financing the

‘political warchests’ of those candidates.” Orloski v. FEC, 795

F.2d 156, 163 (D.C. Cir. 1986)(citing Buckley v. Valeo, 424 U.S.

1, 25–26 (1976)). To that end, there are several provisions in

FECA that limit the amount of money a person can contribute to a

federal campaign. These limits often depend on who or where the

contribution is coming from, and the amount of the contribution.

     Relevant to this case are the limits on contributions made

to political action committees. 1 FECA defines a “political

committee” as “any committee, club, association, or other group

of persons” that receives “contributions” or makes


1 The term “political action committee or ‘PAC’ . . . normally
refers to organizations that corporations or trade unions might
establish for the purpose of making contributions or
expenditures that [FECA] would otherwise prohibit.” FEC v.
Atkins, 524 U.S. 11, 15 (1998)(citing 2 U.S.C. §§ 431(4)(B),
411b).
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“expenditures” “for the purpose of influencing any election for

Federal Office” “aggregating in excess of $1,000 during a

calendar year.” 52 U.S.C. § 30101(4)(A), (8)(A)(i),(9)(A)(i).

This definition has been further tailored by the Supreme Court

to “only encompass organizations that are under the control of a

candidate or the major purpose of which is the nomination or

election of a candidate.” Buckley v. Valeo, 424 U.S. 1, 79

(1976). Political action committees fall within the category of

political committees as defined by the Act.

     FECA sets several limitations on the contributions

political committees may receive depending on the type of entity

that receives the contribution. A political committee that is

not authorized by a candidate or established by a national or

state political party may not knowingly accept any contribution

in excess of $5,000 per year from an individual. 52 U.S.C.

§ 30116(f). And, of course, an individual shall not contribute

more than $5,000 per year to this type of political committee.

Id. § 30116(a)(1)(C).

     The $5,000 limit on contributions to political committees

does not apply, however, to political committees that solely

engage in independent expenditures. See SpeechNow, 599 F.3d at

694–95. Independent expenditures are defined by FECA as

expenditures “that expressly advocate[] the election or

defeat of a clearly identified candidate” and are “not made in

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concert or cooperation with or at the request or suggestion of

such candidate, the candidate’s authorized political committee,

or their agents, or a political party committee or its agents.”

52 U.S.C. § 30101(17).

     The inability to put limitations on contributions to

independent expenditure-only political committees has led to

“the genesis of so-called ‘Super PACs.’” Stop this Insanity, 902

F. Supp. 2d at 37. Super PACS were born from the union of the

rulings in two First Amendment campaign finance cases. In the

first case, Citizens United v. FEC, the Supreme Court

“conclude[d] that independent expenditures, including those made

by corporations, do not give rise to corruption or the

appearance of corruption.” 558 U.S. 310, 357 (2010). Therefore,

the Court held, the government did not have a sufficient anti-

corruption interest in restricting corporations from engaging in

political speech funded from the corporation’s general treasury

if that speech was in the form of an independent expenditure.

Id. at 358.

     In the second case, SpeechNow, the D.C. Circuit held that

if under Citizens United there was no anti-corruption interest

in limiting independent expenditures then there could not be an

anti-corruption interest in regulating contributions to

independent expenditure-only political action committees. 599

F.3d at 694–95. The D.C. Circuit acknowledged that the only

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interest recognized by the Supreme Court as sufficiently

important to outweigh First Amendment interests implicated by

contributions for political speech was the interest of

“preventing corruption or the appearance of corruption.”

SpeechNow, 599 F.3d at 692 (citations omitted). Applying the

then-new precedent of Citizens United, the D.C. Circuit reasoned

that if the Supreme Court ruled that limits on independent

expenditures were unconstitutional, it necessarily follows that

limits on contributions to political committees that engaged

solely in independent expenditures are also unconstitutional.

Id. This is because, like the independent expenditures in

Citizens United, “contributions to groups that make only

independent expenditures also cannot corrupt or create the

appearance of corruption.” Id. at 694. In other words, the

government “has no anti-corruption interest in limiting

contributions to an independent expenditure group” and

therefore, the D.C. Circuit held, any limits on such

contributions are unconstitutional. Id. at 695.

     Enter Super PACs. Because these political action committees

make solely independent expenditures, they are “permitted to

receive unlimited amounts of money from both individuals and

corporations.” Stop This Insanity, 902 F. Supp. 2d at 37. This

allows for an “unlimited [amount of] money to flow into the

electoral process for express advocacy” for particular

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candidates so long as the expenditures are not coordinated with

that candidate. Id. at 38.

     In light of Citizens United and SpeechNow, the FEC issued

an advisory opinion explaining the SpeechNow ruling and its

effects on the regulation of political action committees. FEC

Advisory Op. 2010-11 (Commonsense Ten), 2010 WL 3184269 (July

22, 2010). The advisory opinion explained that the FEC’s

understanding was that it “necessarily follows” from Citizens

United and SpeechNow “that there is no basis to limit the amount

of contributions to” an independent expenditure-only political

committee “from individuals, political committees, corporations

and labor organizations,” which are covered by 52 U.S.C. §

30116(a)(1)(C). Id. at *2. The advisory opinion also triggered

FECA’s safe harbor for “any person involved in any specific

transaction or activity which is indistinguishable in all its

material aspects” from the activity described in the opinion. 52

U.S.C. § 30108(c)(1)(B). Additionally, anyone who relies on a

finding in an advisory opinion and does so in good faith “shall

not, as a result of any such act, be subject to any sanction

provided” by FECA. Id. § 30108(c)(2). Since issuing the advisory

opinion, the Commission has not enforced the limits in 52 U.S.C.

§ 30116(a)(1)(C) when contributions are given to groups that

make only independent expenditures. Def.’s Mot. to Dismiss, ECF



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No. 39 at 11. 2

     FECA allows any person to file an administrative complaint

with the FEC alleging a violation of the statute. 52 U.S.C.

§ 30109(a)(1); see also 11 C.F.R. § 111.4. After reviewing the

complaint, and relevant submissions made by the administrative

respondents, the FEC must determine whether there is “reason to

believe” that FECA has been violated. 52 U.S.C. § 30109(a)(2).

If the Commission dismisses the complaint, FECA allows “[a]ny

party aggrieved” by the dismissal to file suit to obtain

judicial review. 3 52 U.S.C. § 30109(a)(8)(A). If the reviewing

court concludes that the Commission’s dismissal is “contrary to

law,” the court can “direct the Commission to conform with

[that] declaration within 30 days.” Id. § 30109(a)(8)(C).

     B. Procedural History

     Plaintiffs filed an administrative complaint against ten

political action committees, all Super PACs, alleging that they

knowingly accepted contributions in excess of the $5,000 per

person per year limit set by FECA. See Am. Compl. ECF No. 36 ¶

79 (citing 52 U.S.C. § 30116(a)(1)(C) and (f); 11 C.F.R. §§

110.1(d) and (n)). The complaint also cited over 39 specific


2 When citing electronic filings throughout this opinion, the
Court cites to the ECF header page number, not the page number
of the filed document.
3 All such lawsuits must be filed in this district. Id.

(providing that aggrieved parties “may file a petition with the
United States District Court for the District of Columbia”).
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contributions to the Super PACs from over two-dozen contributors

that were alleged to violate FECA’s contribution limits. 4 Joint

Appendix (J.A.), ECF No. 45 at 23–30; Id. ¶¶ 41–78.

     In their administrative complaint, Plaintiffs recognized

that the FEC in its Advisory Opinion had declared its intent to

follow SpeechNow’s holding that contribution limits as applied

to contributions to independent expenditure-only political

committees are unconstitutional. J.A. at 9. Plaintiffs, however,

reminded the FEC that they were not bound to the SpeechNow

decision and could “still enforce FECA’s contribution limits in

cases brought by or against other parties outside the D.C.

Circuit.” J.A. at 10. Another way around SpeechNow, argued

plaintiffs, was for the FEC to refuse to acquiesce to the

SpeechNow ruling even in the D.C. Circuit “as long as the agency

is ‘embarked on a rational litigation program designed to secure

a reasonably prompt national resolution of the question in

dispute.’” Id. (citing Samuel Estreicher & Richard L. Revesz,

The Uneasy Case Against Intracircuit Nonacquiescence, 99 Yale

L.J. 831, 832 (1990)). Therefore, plaintiffs invited the FEC “to

reconsider, in light of later experience, its decision to

acquiesce to SpeechNow.” Id.


4 For example, the Freedom Partners Action Fund, Inc. was alleged
to have received contributions from four individuals, the
Charles G. Koch 1997 trust, and the Mountaire Corporation of
Little Rock, of over $13,000,000,000 total.
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     The FEC declined the invitation. The Commission voted

unanimously to find no reason to believe that the administrative

respondents, (i.e., the Super PACs), had violated FECA. J.A. at

213–14. The Commission acknowledged plaintiffs’ factual

allegations and plaintiffs’ arguments that SpeechNow was wrongly

decided, but found that “the D.C. Circuit’s decision in

SpeechNow and the Commission’s [advisory opinion] plainly permit

the contributions described in the [c]omplaint, and [plaintiffs]

do not suggest otherwise.” Id. at 208. In light of plaintiffs’

concession that “SpeechNow and [the advisory opinion] permit the

conduct described in the [c]omplaint” the Commission ruled that

it would be inconsistent to find that there was a “reason to

believe that respondents violated the law.” Id. at 210.

     The Commission also noted that Super PACs were entitled to

rely on the advisory opinion in which the Commission adopted the

holding in SpeechNow. J.A. at 208. The Commission explained that

individuals may rely on an advisory opinion as long as the

person is “involved in the specific transaction or activity with

respect to which such advisory opinion is rendered” or if the

person is involved in a specific transaction or activity “which

is indistinguishable in all its material aspects from the

transaction or activity with respect to which such advisory

opinion is rendered.” Id. (citing 52 U.S.C. §

30108(c)(1)(A),(B)). The Commission further noted that FECA and

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the Commission’s regulation prohibit the Commission from

sanctioning any person who acts in good-faith reliance on an

advisory opinion. Id. (citing 52 U.S.C. § 30108(c)(2)).

     The Commission also explicitly addressed its decision to

acquiesce to SpeechNow. The Commission began by explaining that

the doctrine of nonacquiesence “refers to an agency’s conscious

decision to disregard the law of one or more circuits to

generate a circuit split that will result in judicial finality

through Supreme Court review.” Id. at 210 (citation omitted).

The Commission reasoned that acquiescence therefore “assumes

that the law forming the basis for the obligation to acquiesce

remains in flux.” Id. (citing Johnson v. U.S.R.R. Ret. Bd., 969

F.2d 1082, 1092 (D.C. Cir. 1992)). The Commission explained that

because “seven federal courts of appeals” have addressed the

constitutionality of imposing limits on contributions to Super

PACs and have all ruled that such limits are unconstitutional,

“there is simply no basis to conclude that the law remains

unsettled in a way that would begin to justify Commission

nonacquiescence . . . even if the Commission had not already

adopted the holding of SpeechNow in [the advisory opinion].” Id.

at 210–11. Accordingly, the Commission dismissed the complaint.

     Plaintiffs sought review of the Commission’s decision by

filing this law suit. In their amended complaint, plaintiffs

allege that because the FEC’s dismissal of the administrative

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complaint “rested on legally erroneous conclusions about the

constitutionality of [FECA]” the dismissal was “’contrary to

law’ under 52 U.S.C. § 3019(a)(8)(C).” See Am. Compl., ECF No.

36 ¶¶ 85–88. 5 Defendant’s moved to dismiss the complaint for

failure to state a claim. See Def.’s Mot. to Dismiss, ECF No.

39. Plaintiffs filed their opposition to the motion to dismiss

and defendants have filed a reply. This case is now ripe for

adjudication.

II. Legal Standard

     The FEC has moved to dismiss plaintiffs’ amended complaint

for failure to state a claim under Federal Rule of Civil

Procedure 12(b)(6). However, because this case requires the

Court to review an agency’s final action, the traditional Rule

12(b)(6) standard of review does not apply. Marshall Cnty.

Health Care Auth. v. Shalala, 988 F.2d 1221, 1226 (D.C. Cir.

1993). Rather, when agency action is challenged, “[t]he entire

case on review is a question of law, and only a question of law.

And because a court can fully resolve any purely legal question

on a motion to dismiss, there is no inherent barrier to reaching




5 Plaintiffs also alleged a violation of the Administrative
Procedure Act, 5 U.S.C. § 706(2), in Count II of their Amended
Complaint, but have since dropped that claim. See Pls.’ Opp’n.,
ECF No. 42 at 13 n.1 (“Plaintiffs do not oppose dismissal of
Count II, alleging that the FEC’S dismissal of plaintiffs’
complaint violated the Administrative Procedure Act.”).
Accordingly, Count II of the complaint is DISMISSED.
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the merits at the 12(b)(6) stage.” Id. Accordingly, in reviewing

agency action, “the district judge sits as an appellate

tribunal.” Am. Bioscience, Inc. v. Thompson, 269 F.3d 1077, 1083

(D.C. Cir. 2001).

     A party challenging an FEC dismissal decision under FECA’s

judicial review provision, 52 U.S.C. § 30109(a)(8)(A), is

entitled to relief if the dismissal decision is “contrary to

law.” Orloski v. FEC, 795 F.2d 156, 161 (D.C. Cir. 1986). “The

FEC's decision is ‘contrary to law’ if (1) the FEC dismissed the

complaint as a result of an impermissible interpretation of the

Act, . . . or (2) if the FEC's dismissal of the complaint, under

a permissible interpretation of the statute, was arbitrary or

capricious, or an abuse of discretion.” Id. (citations omitted).

III. Analysis

     The Court begins by addressing the threshold issue of the

appropriate standard of review for the FEC’s decision to dismiss

a plaintiffs’ administrative complaint when that dismissal is

based on an interpretation of judicial precedent. The Court then

turns to the merits and discusses whether the FEC’s decision was

“contrary to law” under FECA.

     A. Proper Standard of Review under FECA

     The parties agree that the standard of review for a

Commission’s dismissal of an administrative complaint is whether

the dismissal is “contrary to law” under FECA. 52 U.S.C.

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§ 30109(a)(8)(C); see Def.’s Mot. to Dismiss, ECF No. 39 at 17;

Pls.’ Opp’n, ECF No. 42 at 14. The parties similarly agree that

courts need not give binding deference to an administrative

agency’s interpretation of judicial precedent or the

Constitution. Def.’s Mot. to Dismiss, ECF No. 39 at 17; Pls.’

Opp’n, ECF No. 42 at 14. Where the parties part ways, however,

is on the question of whether the “contrary to law” standard

under FECA requires the Court to give any deference to the

Commission’s enforcement decisions, even if the deference is not

conclusive.

     Plaintiffs argue that review in this case should be de

novo. Pls.’ Opp’n., ECF No. 42 at 15. Plaintiffs acknowledge

that in the typical case in which the FEC is interpreting a

statute that it administers the Court is required to defer to

the agency’s interpretation. Id. at 14 (citing Chevron, U.S.A.,

Inc. v. Nat. Res. Def. Council, 467 U.S. 837, 843-44 (1984)).

Plaintiffs further acknowledge that a Court must defer to an

agency’s dismissal which rests on a factual determination as

long as that determination is supported by substantial evidence.

Id. (citing Hagelin v. FEC, 411 F.3d 237, 242-43 (D.C. Cir.

2005)). Plaintiffs argue, however, that neither circumstance

applies to this case because the FEC’s dismissal was based on

its interpretation of SpeechNow, and courts need not defer to an

agency’s interpretation of judicial precedent. Id.

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     The FEC argues that the Court should defer to the dismissal

decision. Def.’s Mot. to Dismiss, ECF No. 39 at 18. The FEC

recognizes that “courts are not obligated to give binding

deference to an agency’s interpretation of judicial precedent or

the Constitution.” Id. at 18 (citing Univ. of Great Falls v.

NLRB, 278 F.3d 1335, 1341 (D.C. Cir. 2002)). The FEC argues,

however, that in the context of a decision to not enforce FECA,

an agency engages in a complicated balance of factors

particularly in the agency’s expertise including whether the

agency is likely to succeed if it acts and whether the

enforcement action best fits the agency’s overall policy goals.

Id. (citing Heckler v. Cheney, 470 U.S. 821, 831 (1985)).

Defendants argue that because there are discretionary factors

involved in a decision about whether to bring an enforcement

action, the Court should defer to the agency’s decision

notwithstanding the fact that the decision turned on the

interpretation of judicial precedent. Id.

     The Court is persuaded that plaintiffs have the better

argument. This is not the typical case of administrative review:

the FEC’s decision to dismiss the complaint was based

exclusively on its interpretation of the D.C. Circuit’s opinion

in SpeechNow. The precedent in this Circuit is clear that

“courts need not, and should not, defer to agency

interpretations of opinions written by courts.” Citizens for

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Responsible Ethics in Washington v. FEC, 209 F. Supp. 3d 77, 87

(D.D.C. 2016)(collecting cases). This principle is “especially

true where, as here, . . . the . . . precedent is based on

constitutional concerns, which is an area of presumed judicial

competence.’” Akins v. FEC, 101 F.3d 731, 740 (D.C. Cir. 1996),

vacated on other grounds, 524 U.S. 11 (1998).

     The FEC invokes Heckler v. Cheney, but that case is

inapposite. 470 U.S. 821, 831 (1985). Although Heckler does

stand for the proposition that there is a presumption that

agency decisions not to enforce are unreviewable, FECA’s express

provision for the judicial review of FEC dismissal decisions

rebuts that presumption. See FEC v. Akins, 524 U.S. 11, 26

(1998) (“In Heckler, this Court noted that agency enforcement

decisions have traditionally been committed to agency

discretion, and concluded that Congress did not intend to alter

that tradition in enacting the APA . . . We deal here with a

statute [FECA] that explicitly indicates the

contrary.”)(internal quotation marks omitted). Moreover, here,

the dismissal decision was not rooted in a judgment call such as

exercising prosecutorial discretion or policy-based

justifications, but rather an interpretation of judicial

precedent. In other words, the decision was not based on

discretionary factors that would require the Court to defer to

the judgment and expertise of the agency. Accordingly, the Court

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will not afford deference to the FEC's interpretation of

judicial precedent defining the protections of the First

Amendment as it relates to the issues in this case.

     B. Review of the FEC’s Dismissal Decision

     Plaintiffs argue that the FEC acted contrary to law in its

interpretation of SpeechNow because its decision to dismiss the

administrative complaint rested on a judicial ruling that was

contrary to law. Pls.’ Opp’n., ECF No. 42 at 17. Plaintiffs

concede that the D.C. Circuit’s ruling in SpeechNow “voided the

long-established statutory limits for contributions to any

political committee that restricts its spending to independent

expenditures.” Am. Compl., ECF No. 36 ¶ 2 (emphasis in

original). However, plaintiffs argue that SpeechNow does not

stop the FEC from declaring the Super PACs’ actions as unlawful.

Pls.’ Opp’n., ECF No. 42 at 19.

     In SpeechNow, the D.C. Circuit sitting en banc determined

that FECA limits on contributions could not be constitutionally

applied to independent expenditure-only political action

committees. 599 F.3d at 694–96. The D.C. Circuit began by

recognizing that “although contribution limits do encroach upon

First Amendment interests, they do not encroach upon First

Amendment interests to as great a degree as expenditure limits.”

Id. at 692. The Court explained that expenditures and

contributions are treated differently because, “in ‘contrast

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with a limitation upon expenditures for political expression, a

limitation upon the amount that any one person or group may

contribute to a candidate or political committee entails only a

marginal restriction upon the contributor's ability to engage in

free communication.’” Id. (quoting Buckley, 424 U.S. at 20–21).

     The D.C. Circuit held that although the standard for

restrictions on contributions is less stringent than the

standard for expenditures, the Act’s contribution limit was

unconstitutional under either standard because the government

has no valid “interest in limiting contributions to independent

expenditure-only organizations.” Id. at 696. The Court explained

that the only interest recognized by the Supreme Court as

sufficiently important to outweigh the First Amendment interests

implicated by contributions for political speech is the interest

in “preventing corruption or the appearance of corruption.” Id.

(citations omitted). However, in light of the Supreme Court’s

ruling in Citizens United that independent expenditures could

not corrupt or create the appearance of corruption, the D.C.

Circuit held that it “must conclude” that “the government has no

anti-corruption interest in limiting contributions to an

independent expenditure group.” Id. at 695. Since the government

had zero interest in limiting contributions to groups that make

only independent expenditures, the D.C. Circuit reasoned that

the implicated First Amendment interests outweighed the

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government’s non-existent interests. Id. As the D.C. Circuit put

it, “something . . . outweighs nothing every time.” Id.

(citation omitted).

     Plaintiffs point out several alleged flaws in the D.C.

Circuit’s decision. Plaintiffs argue that SpeechNow: (1) failed

to appreciate the distinction between contributions and

expenditures; (2) rested on a logical fallacy that if

expenditures cannot corrupt then contributions cannot corrupt

either; (3) failed to appreciate a regulatory interest in

limiting contributions; (4) misinterpreted the holding in

Citizens United; and (5) developments since SpeechNow require

its reconsideration. Pls.’ Opp’n, ECF No. 42 at 23–38; see also

id. at 26 (“The bottom line of the SpeechNow opinion--that

contributions to super PACs cannot corrupt--is plainly wrong.”).

     Plaintiffs’ acknowledge that the D.C. Circuit’s

interpretation of Citizens United in SpeechNow binds this Court

unless SpeechNow has been overruled by either the D.C. Circuit

sitting en banc, or the Supreme Court. Pls.’ Opp’n, ECF No. 42

at 23. There is no D.C. Circuit case that purports to overrule

SpeechNow. The only Supreme Court case the Plaintiffs cite that

postdates SpeechNow and therefore could have possibly overruled

it is McCutcheon v. FEC, 572 U.S. 185 (2014)(plurality opinion).

In McCutcheon, a Supreme Court plurality held that an aggregate

limit on the amount an individual can contribute to a candidate

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or national party was unconstitutional. 6 McCutcheon, 572 U.S. at

194. The Court held that the aggregate limit on contributions

was more than a “modest restraint upon protected political

activity” because the limit functionally prohibited an

individual from fully contributing to primary and general

elections campaigns of ten or more candidates. 7 Id. at 204. In

balancing the First Amendment interest with the government’s

burden of showing that the aggregate limits further the

permissible objective of preventing quid pro quo corruption, the

Court stated “there is not the same risk of quid pro quo

corruption or its appearance when money flows through

independent actors to a candidate, as when a donor contributes

to a candidate directly.” Id. at 210. The Court also noted

“[t]he absence of prearrangement and coordination of an

expenditure with the candidate or his agent . . . undermines the

value of the expenditure to the candidate[,] but probably not by

95 percent.” Id. at 214.

     Plaintiffs point to the McCutcheon decision and argue that

the Court recognized that “the lack of coordination may make an


6 The base limit, which restricted how much money a donor may
contribute to any particular candidate or committee, was not
challenged.
7 The base limits were such that an individual would reach the

aggregate limit after contributing the max base amount, $5,200
each, to nine candidates. Therefore, the aggregate limit
functioned as an outright ban on further contributions to any
more candidates. McCutcheon, 572 U.S. at 204.
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expenditure worth less but not worthless.” Pls.’ Opp’n., ECF No.

42 at 33. And therefore, plaintiffs argue, independent

expenditures cannot be wholly non-corrupting since they retain

some value. Id. McCutcheon, however was not about independent

expenditures but rather contributions directed to a particular

candidate or party committee. Id. at 193–94. In any event,

McCutcheon did not purport to overturn SpeechNow or Citizens

United.

     The Court recognizes that there is some tension between

SpeechNow and other Supreme Court decisions. But that tension

flows from inconsistencies between Citizens United and prior

Supreme Court campaign finance decisions. See McCutcheon, 572

U.S. at 240–45 (Breyer, J., dissenting)(explaining statements in

Citizens United about proper contours of corruption “conflict

not just with the language of [prior precedent] but with . . .

the very holding[s]” of prior Supreme Court cases).

Nevertheless, the D.C. Circuit has spoken on the issue--limits

on contributions to Super PACs are unconstitutional--and the

D.C. Circuit’s reasoning is binding on this Court. Plaintiffs

point to no Supreme Court cases which show that SpeechNow has

been overruled.

     Plaintiff’s allegations about the violations of the Super

PACs fall squarely within the holding of SpeechNow. It cannot be

said that the FEC’s determination, which was based on SpeechNow,

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was contrary to law. To do so would be tantamount to a

declaration that binding precedent of the D.C. Circuit was

unlawful. And that is not something this Court is prepared to

say. 8

         IV. Conclusion

         This case centers on the balance of two competing

interests. On one hand, “[t]here is no right more basic in our

democracy than the right to participate in electing our

political leaders . . . [which includes] contribut[ing] to a

candidate’s campaign.” McCutcheon, 572 U.S. at 191. On the other

hand, “[t]o say that Congress is without power to pass

appropriate legislation to safeguard an election from the

improper use of money to influence the result is to deny to the

nation in a vital particular the power of self protection.”

McConnell v. FEC, 540 U.S. 93, 223–24 (2003)(alterations and

citation omitted). In SpeechNow, the D.C. Circuit struck that

balance and ruled that any contribution limits to independent

expenditure-only groups (i.e., Super PACs) were unconstitutional

because the government has absolutely no anti-corruption

interest in stopping contributions to such groups. 599 F.3d at

695. The FEC followed that opinion in deciding to dismiss the


8 Because the FEC correctly applied SpeechNow in dismissing the
administrative complaint, the Court need not decide whether the
Commission erroneously acquiesced to SpeechNow or whether the
FEC’S reliance on its advisory opinion was contrary to law.
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administrative complaint against the Super PACs in this case.

Accordingly, the FEC did not act contrary to law, and

defendant’s motion to dismiss is GRANTED.

     SO ORDERED.

Signed:    Emmet G. Sullivan
           United States District Judge
           February 28, 2019




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